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                 IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

 KIZZY LANDRY and INDIA LANDRY,

                   Plaintiffs,

 v.                                                    Civil Action No. 4:17-cv-03004

 CYPRESS FAIRBANKS ISD, et al.,

                   Defendants,


 STATE OF TEXAS,

                   Defendant-Intervenor.



                         STATE OF TEXAS’S ORIGINAL ANSWER


       Defendant-Intervenor, the State of Texas, files this Original Answer to

Plaintiffs’ Second Amended Complaint. Defendant-Intervenor intervened in this case

to defend the constitutionality of Texas Education Code Section 25.082. That statute

does not violate the U.S. Constitution for the reasons explained in Defendant-
Intervenor’s motion to intervene. Defendant-Intervenor may supplement this answer

as discovery proceeds.

       1.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

       2.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

       3.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.
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      4.     Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      5.     Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      6.     Defendant-Intervenor denies that Plaintiffs are entitled to any relief as

a result of their challenge to the constitutionality of Texas Education Code Section

25.082. The remainder of Paragraph 6 does not set forth allegations requiring

admission or denial.
      7.     Defendant-Intervenor admits that this Court has jurisdiction to hear

Plaintiffs’ constitutional challenge to Texas Education Code Section 25.082.

      8.     Defendant-Intervenor admits that venue is proper in this Court for

Plaintiffs’ constitutional challenge to Texas Education Code Section 25.082.

      9.     Defendant-Intervenor admits that the cited rule and statutes authorize

declaratory relief.

      10.    Defendant-Intervenor admits that Plaintiffs brought this action under

the cited statutes.

      11.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      12.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      13.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      14.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      15.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.



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      16.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      17.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      18.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      19.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.
      20.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      21.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      22.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      23.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      24.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      25.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      26.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      27.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      28.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.



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      29.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      30.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      31.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      32.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.
      33.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      34.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      35.    Defendant-Intervenor admits that Plaintiffs accurately quote a portion

of Texas Education Code Section 25.082. Defendant-Intervenor lacks knowledge or

information sufficient to form a belief about the truth of the remaining allegations in

this paragraph.

      36.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      37.    Defendant-Intervenor lacks knowledge or information sufficient to form

a belief about the truth of the allegations in this paragraph.

      38.    Defendant-Intervenors incorporate their responses to the reasserted

previous paragraphs.

      39.    Defendant-Intervenor admits that Plaintiffs accurately quote a portion

of the First Amendment to the U.S. Constitution.

      40.    Defendant-Intervenor denies that Texas Education Code Section 25.082

violates Plaintiffs’ Fifth Amendment right or is unconstitutional in any way.



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         41.   Defendant-Intervenors incorporate their responses to the reasserted

previous paragraphs.

         42.   Defendant-Intervenor admits that Plaintiffs accurately quote a portion

of the Fifth Amendment to the U.S. Constitution.

         43.   Defendant-Intervenor admits that Plaintiffs accurately quote a portion

of the Fourteenth Amendment to the U.S. Constitution.

         44.   Paragraph 44 does not set forth allegations requiring admission or

denial from Defendant-Intervenor.
         45.   Paragraph 45 does not set forth allegations requiring admission or

denial from Defendant-Intervenor.

         46.   Paragraph 46 does not set forth allegations requiring admission or

denial    from   Defendant-Intervenor.   Additionally,   Defendant-Intervenor    lacks

knowledge or information sufficient to form a belief about the truth of the allegations

in this paragraph.

         47.   Paragraph 47 does not set forth allegations requiring admission or

denial    from   Defendant-Intervenor.   Additionally,   Defendant-Intervenor    lacks

knowledge or information sufficient to form a belief about the truth of the allegations

in this paragraph.

         48.   Defendant-Intervenors incorporate their responses to the reasserted

previous paragraphs.

         49.   Paragraph 49 does not set forth allegations requiring admission or

denial from Defendant-Intervenor. To the extent that a response is required, denied.

         50.   Defendant-Intervenor denies that Plaintiffs are entitled to any relief

related to their claim that Texas Education Code Section 25.082 violates the U.S.

Constitution.




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October 30, 2018                Respectfully submitted.

                                KEN PAXTON
                                Attorney General of Texas

                                JEFFREY C. MATEER
                                First Assistant Attorney General

                                BRANTLEY STARR
                                Deputy First Assistant Attorney General

                                JAMES E. DAVIS
                                Deputy Attorney General for Civil Litigation

                                /s/ Todd Lawrence Disher
                                TODD LAWRENCE DISHER
                                Attorney-in-Charge
                                Trial Counsel for Civil Litigation
                                Texas Bar No. 24081854
                                Southern District of Texas No. 2985472
                                P.O. Box 12548, Mail Code 001
                                Austin, Texas 78711-2548
                                Tel.: (512) 936-2266; Fax.: (512) 936-0545
                                todd.disher@oag.texas.gov

                                ATTORNEYS FOR THE
                                STATE OF TEXAS




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                          CERTIFICATE OF SERVICE

        I certify that on October 30, 2018, this document was electronically filed with
the Clerk of the Court using the CM/ECF system, which will send notification of such
filing to all counsel of record.

                                              /s/ Todd Lawrence Disher
                                              Todd Lawrence Disher




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